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                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

TEXAS, et al.,                    §
                                  §
         Plaintiffs,              §
                                  §
v.                                §              Civil Action No. 4:18-CV-00167-O
                                  §
UNITED STATES OF AMERICA, et al., §
                                  §
         Defendants,              §
                                  §
and                               §
                                  §
CALIFORNIA, et al.                §
                                  §
         Intervenors-Defendants.  §



         PLAINTIFFS’ STATEMENT ON CONSIDERATION OF THE
          CONSTITUTIONALITY OF THE INDIVIDUAL MANDATE
                      ON SUMMARY JUDGMENT


      On July 16, the Court issued an order, Doc. 176, noting Federal Defendants’

opposition to Plaintiffs’ request for the issuance of immediate injunctive relief and

their suggestion that the Court “consider construing Plaintiffs’ motion as a request

for summary judgment . . . .” Doc. 92, Defs. PI Br.20. The Court has provided the

parties an opportunity to present additional information in opposition to the Court

considering the issues raised by Plaintiffs’ application for preliminary injunction in

the summary judgment posture. Doc. 176. For the reasons discussed below, Plaintiffs

maintain that preliminary injunctive relief is necessary and the Court must treat

Plaintiffs’ application for a preliminary injunction as requesting that relief under

applicable standards. That said, because the parties agree that the matters currently

before the Court are purely issues of law, Plaintiffs do not oppose the Court also and
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simultaneously considering Plaintiffs’ application as a motion for partial summary

judgment on the constitutionality of the ACA’s mandate.

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      In their response to Plaintiffs’ application for preliminary injunction, Federal

Defendants assert that “the injury imposed by the individual mandate is not

sufficiently imminent to warrant preliminary injunctive relief, especially where final

adjudication would be possible before that injury occurs.” Defs. PI Br.20 (citing

Aransas Project v. Shaw, 775 F.3d 641, 664 (5th Cir. 2014), for the proposition that

an injunction may “be issued only if future injury is ‘certainly impending’”).

      Federal Defendants agree that the ACA’s individual mandate will be

unconstitutional with the repeal of the tax penalty taking effect in 2019. Defs. PI

Br.20. It is thus undisputed—at least as between Plaintiffs and Federal Defendants—

that Plaintiffs have met their burden of showing a constitutional injury sufficient to

constitute irreparable harm. See Doc. 40, Pls. PI Br. 41-48; Doc. 175, Pls. PI Reply

Br.21-26. This impending harm is sufficient to justify a preliminary injunction. “[T]he

injury need not have been inflicted when application is made or be certain to occur; a

strong threat of irreparable injury before trial is an adequate basis.” United States v.

Emerson, 270 F.3d 203, 262 (5th Cir. 2001) (emphasis added) (quoting 9 Wright,

Miller & Kane, FED. PRAC. & PROC. § 2948.1 at 153–56)). Because the focus is on

whether irreparable harms will flow to the movant prior to trial, and because Federal

Defendants do not contest those harms, their focus on whether Plaintiffs’ injury is

“sufficiently imminent” is misplaced.



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      And contrary to Federal Defendants’ suggestion that “final adjudication would

be possible before that injury occurs,” Defs. PI Br.20, it would be remarkable for this

Court to resolve all issues in this case and enter final judgment before January 1,

2019. Not only are the issues in this case particularly complex and important, but

only one of Plaintiffs’ four claims is currently before the Court: Plaintiffs’ preliminary-

injunction application does not address their Due Process Clause, Tenth Amendment,

or APA claims. See Pls. 2d Am. Compl. ¶¶61-83. Because issuing a final judgment on

every issue and claim raised in this suit prior to January 1, 2019—the day that the

irreparable harm to the plaintiffs begins—is highly unlikely, if not nearly impossible,

Plaintiffs’ preliminary injunction application is the only way for Plaintiffs to obtain

relief from the irreparable harms their record evidence has established.

      Federal Defendants and Plaintiffs do agree, however, that the constitutionality

of the ACA’s mandate is a “pure question of law.” Defs. PI Br.20. Discovery and

further factual development of the record are unnecessary for the Court to determine

whether the mandate falls upon the elimination of the tax penalty. For that reason,

the Court could treat Plaintiffs’ application for preliminary injunction as a combined

application for preliminary injunction and motion for partial summary judgment on

their declaratory judgment claim that the mandate exceeds Congress’s Article I

powers. See Pls. 2d Am. Compl. ¶¶48-60; e.g., Landry v. Air Line Pilots Ass’n Int’l

AFL–CIO, 892 F.2d 1238, 1269 (5th Cir. 1990) (affirming summary judgment granted

prior to discovery being conducted because “many of the issues raised by the summary

judgment motions were purely legal and . . . discovery would therefore not aid their



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resolution”); Rosas v. U.S. Small Bus. Admin., 964 F.2d 351, 359 (5th Cir. 1992) (“As

the issues to be decided by the district court were purely legal in nature, the court did

not abuse its discretion in deciding the summary judgment motion prior to completion

of discovery.”).

        Construing Plaintiffs’ application in this way would not change any standards

for the granting or denial of either motion, but would serve judicial economy because

there is no need for the parties to rehash the legal issues surrounding the

unconstitutionality of the individual mandate—and the severability of the remainder

of the ACA—on later summary judgment briefing en route to a final resolution of this

litigation. 1




1 To the extent that the Court were to treat Plaintiff’s application for a preliminary injunction as a
partial summary judgment motion only, that would be the practical denial of a request for injunctive
relief, which would be immediately appealable. 28 U.S.C. § 1292(a)(1) (authorizing appellate
jurisdiction from orders “refusing or dissolving injunctions”); Carson v. American Brands, Inc., 450
U.S. 79, 83 (1981) (orders that have the “practical effect” of denying injunctive relief are immediately
appealable).

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 Dated, July 30, 2018                     Respectfully Submitted,

 BRAD D. SCHIMEL                          KEN PAXTON
 Wisconsin Attorney General               Attorney General of Texas

 MISHA TSEYTLIN                           JEFFREY C. MATEER
 Wisconsin Solicitor General              First Assistant Attorney General

 KEVIN M. LEROY                           BRANTLEY D. STARR
 Wisconsin Deputy Solicitor General       Deputy First Assistant Attorney
                                          General
 State of Wisconsin
 Department of Justice                    JAMES E. DAVIS
 17 West Main Street                      Deputy Attorney General for Civil
 P.O. Box 7857                            Litigation
 Madison, Wisconsin 53707-7857
 Tel: (608) 267-9323                      /s/ Darren McCarty
                                          DARREN MCCARTY
 Attorneys for Wisconsin                  Special Counsel for Civil Litigation
                                          Texas Bar No. 24007631
                                          darren.mccarty@oag.texas.gov
 /s/ Robert Henneke
 ROBERT HENNEKE                           AUSTIN R. NIMOCKS
 Texas Bar No. 24046058                   Special Counsel for Civil Litigation
 rhenneke@texaspolicy.com
 Texas Public Policy Foundation           DAVID J. HACKER
 901 Congress Avenue                      Special Counsel for Civil Litigation
 Austin, Texas 78701
 Tel: (512) 472-2700                      Attorney General of Texas
                                          P.O. Box 12548, Mail Code 001
 Attorney for Individual-Plaintiffs       Austin, Texas 78711-2548
                                          Tel: 512-936-1414

                                          Attorneys for Texas




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                               Additional Counsel

 STEVE MARSHALL                            JOSH HAWLEY
 Attorney General of Alabama               Attorney General of Missouri

 LESLIE RUTLEDGE                           DOUG PETERSON
 Attorney General of Arkansas              Attorney General of Nebraska

 MARK BRNOVICH                             WAYNE STENEHJEM
 Attorney General of Arizona               Attorney General of North Dakota

 PAM BONDI                                 ALAN WILSON
 Attorney General of Florida               Attorney General of South Carolina

 CHRISTOPHER M. CARR                       MARTY JACKLEY
 Attorney General of Georgia               Attorney General of South Dakota

 CURTIS HILL                               HERBERT SLATERY, III
 Attorney General of Indiana               Attorney General of Tennessee

 DEREK SCHMIDT                             SETH REYES
 Attorney General of Kansas                Attorney General of Utah

 JEFF LANDRY                               PATRICK MORRISEY
 Attorney General of Louisiana             Attorney General of West Virginia




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                           CERTIFICATE OF SERVICE

      I certify that the foregoing document was electronically filed with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to all

counsel of record, and via certified mail to the following:

      Stephen P. Wallace
      1116 Sheffer Road, Apt. F
      Aurora, Illinois 60505
                                         /s/Darren McCarty
                                         DARREN MCCARTY




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